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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

     SECURITIES AND EXCHANGE
     COMMISSION,

                 Plaintiff,

     v.                                        Case No. 8:20-cv-325-T-35AEP

     BRIAN DAVISON,
     BARRY M. RYBICKI,
     EQUIALT LLC,
     EQUIALT FUND, LLC
     EQUIALT FUND II, LLC,
     EQUIALT FUND III, LLC,
     EA SIP, LLC,

                 Defendants,
     and

     128 E. DAVIS BLVD., LLC;
     310 78TH AVE, LLC;
     551 3D AVE S, LLC;
     604 WEST AZEELE, LLC;
     2101 W. CYPRESS, LLC;
     2112 W. KENNEDY BLVD, LLC;
     5123 E. BROADWAY AVE, LLC;
     BLUE WATERS TI, LLC; BNAZ, LLC;
     BR SUPPORT SERVICES, LLC;
      BUNGALOWS TI, LLC;
     CAPRI HAVEN, LLC; EA NY, LLC;
     EQUIALT 519 3RD AVE S., LLC;
     MCDONALD REVOCABLE LIVING TRUST;
     SILVER SANDS TI, LLC;
     TB OLDEST HOUSE EST. 1842, LLC.

                 Relief Defendants.
     ____________________________________/

      RECEIVER’S SUPPLEMENT TO THE FIRST QUARTERLY FEE APPLICATION
         FOR ORDER AWARDING FEES, COSTS, AND REIMBURSEMENT OF
                 COSTS TO RECEIVER AND HIS PROFESSIONALS
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                On June 16, 2020, Magistrate Judge Anthony Porcelli held a hearing on the

     Receiver’s First Quarterly Fee Application for Order Awarding Fees, Costs and

     Reimbursement of Costs to Receiver and His Professionals (“Motion for Fees”) [Doc. 88]. At

     the hearing, the Court requested that the Receiver supplement his motion with further

     information related to the reasonableness of the fees sought, including, but not limited to

     more specific information related to the billing professionals, their backgrounds and their

     rates. 1

     I.         Summary of Activity During Time Period Encompassed by Motion for Fees

          The Receiver’s First Quarterly Status Report was attached as an exhibit to the Motion for

     Fees. This lengthy report sets out the activities of the Receiver and his professionals during

     the time encompassed by the Motion for Fees. Below is a summary of some of these

     significant activities:

                •   Served the order appointing the Receiver and freezing the assets of the defendants
                    and relief defendants on at least 73 individuals and entities who could have assets
                    and/or records belonging to the Receivership Estate;

                •   Recovered $4,192,415.62 from accounts at Bank of America, N.A. and
                    transferred to Receiver-controlled accounts at ServisFirst Bank;

                •   Froze, at minimum, an additional $1,616,188.73 at numerous financial institutions
                    plus an additional $1,066,174.18 in accounts at Bank of America that are related
                    to the Defendants but not specifically part of the Receivership;

                •   Analyzed EquiAlt’s debenture obligations as well as sales agent compensation
                    and management fees paid related to the EquiAlt investments;


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               Also during the hearing, the Court granted Defendant Davison’s oral motion that the
     Receiver post his Motion for Fees on the Receivership website. The Receiver complied with
     this ruling promptly.




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           •   Assessed commingling of funds among the Receivership Entities;

           •   Secured three parcels of real property in Florida, plus EquiAlt’s office in Arizona;

           •   Secured a $2.7 million condominium in New Your City.

           •   Located and secured millions of dollars of automobiles and other personal
               property. Reached a consent agreement with the State of Michigan Department of
               Licensing and Regulatory Affairs regarding its existing claims against EquiAlt;

           •   Retained legal counsel, forensic accountants, tax accountants, a technology
               services firm, and an asset manager to assist the Receiver;

           •   Interviewed dozens of individuals, including employees, sales agents, investors,
               and accountants;

           •   Established an informational website for investors and other interested parties;

           •   Took control of EquiAlt’s website;

           •   Collected hundreds of thousands of pages of documents from at least 20
               nonparties, including employees, banks, credit card companies, accountants,
               lawyers, jewelers, car companies;

           •   Fielded dozens of calls from investors and have registered over 500 EquiAlt
               investors through the Receiver’s website;

           •   Analyzed the corporate structure of the EquiAlt entities and funds and over 18
               LLCs named as relief defendants;

           •   Investigated the creation and operation of the EquiAlt REIT and Qualified
               Opportunity Zone; and

           •   Continued to run the day-to-day operations of the Receivership Entities which
               includes the management of over 350 real estate properties. These activities
               include collection of rent, construction, rehab of properties, handling of
               maintenance requests and adjusting to a COVID-19 environment.

     II.   Factors to Determine Reasonableness of Fees Incurred

           In determining the reasonableness of fees, the Court must calculate the lodestar,

     which is the “number of hours reasonably expended on the litigation multiplied by a




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     reasonable hourly rate.” Hensley v. Eckerhart, 461 U.S. 424, 433 (1983). This is in part

     based on the nature and extent of the services rendered and the value of those services. See

     Grant v. George Schumann Tire & Battery Co., 908 F.2d 874, 877-78 (11th Cir. 1990)

     (bankruptcy fee award case addressing the issue of attorney’s fees generally before

     considering specific requirements in the bankruptcy context). Additionally, the Court should

     consider the twelve factors set forth in Johnson v. Georgia Highway Express, Inc., 488 F.2d

     714 (5th Cir. 1974), a case involving an award of attorneys’ fees under federal civil rights

     statutes, as incorporated by the Eleventh Circuit in Grant, a bankruptcy case, are as follows:

     (1) the time and labor required; (2) the novelty and difficulty of the questions presented; (3)

     the skill required to perform the legal services properly; (4) the preclusion of other

     employment by the attorney due to acceptance of the case; (5) the customary fee for similar

     work in the community; (6) whether the fee is fixed or contingent; (7) time limitations

     imposed by the client or by the circumstances; (8) the amount involved and results obtained;

     (9) the experience, reputation, and ability of the attorney; (10) the undesirability of the case;

     (11) the nature and length of the professional relationship with the client; and (12) awards in

     similar cases. Based on the information provided herein as well as the Receiver’s First

     Quarterly Status Report, the Receiver believes that the Court when considering these factors

     and the work accomplished in the first six weeks of this Receivership will determine that the

     Receiver’s Motion for Fees is reasonable and should be granted.

            A receiver and the team he or she assembles is entitled to reasonable compensation

     and courts have looked at several factors in determining reasonableness: (1) the results

     achieved by the receiver; (2) the ability, reputation and other professional qualities of




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     the receiver; (3) the size of the estate and its ability to afford the expenses and fees; and (4)

     the time required to conclude the receivership. SEC v. W.L. Moody & Co, 374 F. Supp. 465,

     480-484 (S.D. Tex. 1974). In this case, the Receiver has begun his duties in earnest to

     investigate, locate and preserve assets for the benefit of defrauded investors while also

     continuing to operate the Receivership Entities. This case involves over 1100 investors and

     over $170 million in investments. The Receiver is responsible for the active management of

     over 350 properties, the assessment of pending construction and maintenance projects, as

     well as supervising employees and property managers.

            It should also be noted that this Receivership has just begun and many of the fees and

     expenses will be non-recurring in that the work accomplished has built a foundation for the

     continued work of the Receivership. For example, much of the work by the forensic

     accountants and information technology firms are one-time expenses for the gathering and

     input of data and information. These labor-intensive activities now will make other

     Receivership tasks in the future, such as the claims process and potential clawback litigation,

     much more efficient and cost-effective.

            Additionally, the Receiver and his attorneys continue to struggle to obtain

     cooperation from Defendant Davison for access to records, vehicles, websites and financial

     information. Finally, the Receiver has sought to keep the EquiAlt investors up to date

     regarding the Court’s progress through the Receivership website, allowing investors to

     register for information related to this matter. The Receiver and designated paralegals at

     Wiand Guerra King also field telephone calls from investors and sales agents regarding the

     allegations in this case and the underlying investments.




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     III.   Professionals and Services Provided

            On February 11, 2020, the SEC filed its Emergency Ex Parte Motion for

     Appointment of Receiver [Doc. 6]. As part of that motion, the SEC attached proposal from

     three different candidates to serve as Receiver in this case and recommended to the Court the

     appointment of Mr. Wiand as the Receiver in this case.

            Based on the information submitted by the SEC and a hearing held on February 13,

     2020, the Court granted the SEC’s motion and appointed Burton Wiand as Receiver on

     February 14, 2020 (“Receivership Order”). [Doc. 11] In the Receivership Order, the Court

     specifically authorized the Receiver to retain the law firm of Wiand Guerra King, P.A.

     (“WGK”). Doc. 11 at ¶16.

            The Court also authorized the Receiver to retain these specific professionals:

                • forensic accountants Yip Associates;

                • information technology consultants Adam Sharp and E-Hounds, Inc.;

                • counsel specializing in information technology research, Robert Stines of

                      Freeborn & Peters LLP; and

                • RWJ Group, LLC.

     Doc. 11 at ¶3. Additionally, the Order provided for the retention of investigators and counsel

     in Phoenix (¶3) as well as the engagement of accountants, private security firm or other

     persons “to assist the Receiver in carrying out the Receiver’s duties and responsibilities.”

     Doc. 11 at ¶6.




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        A. The Receiver and Wiand Guerra King

            In its motion requesting the appointment of the Receiver, the SEC noted that the

     Receiver and WGK provided rate reductions that would “substantially reduce the costs of the

     Receivership” and that these rates were lower than the other candidates. Doc. 6 at p. 3. Mr.

     Wiand agreed to reduce his own hourly rate by nearly 30% from $500 to $360. Further,

     partner rates for the firm of WGK, which typically range from $310 to $475, were to be

     capped at $350/hour and associate rates, which range from $235 to $290, would be capped at

     $240/hour. See Doc. 6 at p.3; Wiand proposal attached as Exhibit 1. For the time covered by

     the Motion for Fees, the Receiver billed 221 hours at the agreed rate of $360/hour, for a total

     bill of $79,560. The Receiver’s invoices are attached as Exhibit 2.

            The attorneys at WGK have been the primary counsel for the Receiver, working with

     the other professionals hired by the Receiver to investigate, marshal and preserve assets.

     Additionally, WGK timekeepers have been active in reviewing legal issues that have arisen

     in the operation of the business of the Receivership Entities as well as responding to EquiAlt

     investors with questions regarding the SEC action. Katherine Donlon, a twenty-five year

     lawyer, specializing in commercial and securities litigation has been largely responsible for

     day to day dealings with counsel for the Defendants and the SEC as well as actively

     investigating and seeking information related to the personal assets of the individual

     Defendants. Jared Perez has been practicing for 15 years and has worked on numerous

     receiverships in both state and federal court. Mr. Perez was responsible for organizing the

     legal efforts related to the takedown of the Tampa EquiAlt office, helping direct

     communications with investors, advising on real estate issues and coordinating legal efforts




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     with Bank of America. Associate Max McKinley, a former assistant state attorney, has

     largely worked to marshal assets and provide counsel on the real estate transactions for

     EquiAlt and the Receiver as well as providing oversight in the EquiAlt office. Additionally,

     he has provided support with legal research and writing. Paralegal Jeffrey Rizzo traveled to

     Arizona and assisted with the takedown of the EquiAlt offices there. He has also been

     primarily responsible for the Receiver’s bank accounts, service of process for the

     Receivership Entities, real estate support and gathering. And analysis of documents from

     third-parties. Paralegal Amanda Stephens has been the primary point of contact for investors

     through the Receiver’s website, emails and telephone calls. A summary of these

     professionals’ hours is set forth below. The

               Professional               Position        Hours    Rate       Total
               Katherine Donlon
               (KCD)                       Partner        179.3   $350.00    $62,755.00
               Jared J. Perez (JJP)        Partner         63.5   $350.00    $22,225.00
               Maya Lockwood
               (MML)                    Of Counsel         0.9    $240.00      $216.00
               R. Max McKinley
               (RMM)                     Associate        174.8   $240.00    $41,952.00
               Jeffrey Rizzo (JR)        Paralegal        167.3   $135.00    $21,674.25
               Mary Gura (MG)            Paralegal         0.5    $135.00        $67.50
               Amanda Stephens
               (AS)                       Paralegal       69.0    $135.00     $9,315.00
               Fees                                                         $158,204.75
               Disbursements                                                  $7,472.15
               Total                                                        $165,676.90


        In addition to legal fees, WGK has advanced costs of $7,472.15 as summarized below.

                                 Costs                       Total
                                 Photocopies                  $536.85
                                 Telephone                    $212.73
                                 Online Research              $488.56



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                                 Delivery Services             $821.88
                                 Out of town Travel          $2,318.58
                                 Court Fees                    $822.55
                                 Other                       $2,271.00
                                 Total                       $7,472.15



     The “Court Fees” are for the miscellaneous actions that must be filed within ten days of the

     appointment of Receiver in those districts where later actions may be brought. The “Out of

     Town Travel” costs were for Mr. Rizzo to travel to Arizona to assist with the takedown of the

     Phoenix office. The “Other” category includes $1,920 in costs related to the Receivership

     website. A copy of the WGK’s invoices are attached as Exhibit 3.

        The Receiver is seeking approval for the payment of WGK’s invoice in the total amount

     of $165,676.90.

        B. Freeborn & Peters LLP

            The Court specifically appointed attorney Robert Stines of Freeborn & Peters LLP to

     aid the Receiver with technology-related issues that would necessarily arise with the

     Receivership. Mr. Stines has been practicing law for over ten years and is a certified IAPP

     U.S.-law privacy professional. See Exhibit 4. His practice is focused on cyber law, electronic

     discovery, digital evidence, privacy and data security. In this case, he has provided counsel

     and assistance to the Receiver related to EquiAlt’s websites, investor portals, internet and

     email accounts, and encrypted data on servers and laptops. He has also been a liaison for the

     Receiver with vendor E-Hounds. Mr. Stines’ hourly rate is $345. For the time covered by the

     Motion for Fees, Mr. Stines billed 47.20 hours for a total of $16,284 and his paralegal Holly

     Haynes billed .5 hours at $210/hour for a total of $105. See Exhibit 5.



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                Professional               Position     Hours      Rate     Total
                Robert Stines               Partner      47.2     $345.00 $16,284.00
                Holly Haynes               Paralegal      0.5     $210.00    $105.00
                Total                                                     $16,389.00


        The Receiver is seeking approval for the payment of Freeborn& Peters’ invoice in the

     total amount of $16,389.

        C. Baskin Richards PLC

            EquiAlt’s main office is located in Tampa, but individual defendant Barry Rybicki

     ran part of the EquiAlt operations in Phoenix from both his home and an executive office

     space. Recognizing this, the Court approved the retention of Arizona counsel and

     investigators as the Receiver deemed necessary. The Receiver hired the firm of Baskin

     Richards to aid him with Rybicki-related issues in Arizona, including the initial takedown of

     those offices. The Baskin Richars firm has also been responsible for interviewing former

     employees, sales agents and other witnesses in Arizona. Mr. Baskin has been practicing law

     for 30 years and is a former Senior Counsel at the Securities Division of the Arizona

     Corporation Commission and also worked for the Arizona Attorney’ General’s Office

     prosecuting securities and white collar cases. Mr. Baskin’s hourly rate is $425 and for the

     time covered by the Motion for Fees, he billed 18.6 hours for a total of $7,905. Three

     associates, Mladen Milovic, Austin Miller and Shayna Stuart have billed a total of 24 hours

     at an hourly rate of $225. Paralegals Christina McDonald and Kellen Quinn billed 2.8 hours

     at a rate of $125/hour. The attorneys’ biographies are attached as Exhibit 6. Baskin Richards’

     invoices are attached as Exhibit 7.




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                 Professional             Position       Hours     Rate        Total
                 Alan Baskin (ASB)         Partner        18.6    $425.00     $7,905.00
                 Austin Miller (AJM)      Associate        1.1    $225.00       $247.50
                 Mladen Milovic
                 (MZM)                    Associate       22.3    $225.00     $5,017.50
                 Shayna Stuart (SGS)      Associate        0.6    $225.00       $135.00
                 Cristina McDonald
                 (CJM)                     Paralegal       1.1    $125.00       $137.50
                 Kellen Quinn (KSQ)        Paralegal       1.7    $125.00       $212.50
                 Fees                                                        $13,655.00
                 Disbursements                                                  $296.13
                 Total                                                       $13,951.13


              The Receiver is seeking approval for the payment of Baskin Richards’ invoice in the

     total amount of $13,951.13.

           D. Yip Associates

              As stated above, the Court approved the retention of Yip Associates in its February

     14, 2020 order. Yip Associates has been instrumental to the Receiver in investigating and

     analyzing the financial status of the Receivership Entities and the investment scheme at issue

     in this case. Below is a brief summary of the activities performed by Yip Associates:


       •    Yip Associates assisted the receivership team in the takeover of Receivership Entities,
            including conducting interviews of accounting personnel and retrieving accounting
            documents and information maintained electronically.

       •    Yip Associates reviewed and analyzed 62 bank accounts held in the names of the
            various Receivership Entities and relief defendants, Brian D. Davison, and Barry M.
            Rybicki, across seven banking institutions and brokerage firms.

       •    Yip Associates reviewed, analyzed and compiled the bank account data into a database
            containing over 84,000 bank transactions covering a period of more than eight years.
            The bank account analysis conducted resulted in the identification of additional bank
            accounts, potential assets and causes of action for the Receivership Estate.




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       •   Yip Associates’ master database served as the source for the detailed schedules
           included in the Receiver’s First Quarterly Status Report.

       •   Yip Associates reviewed and analyzed more than 800 investor files, including,
           Summary of Terms; Private Placement Memoranda; Subscription Agreement;
           Prospective Purchaser Questionnaire; and Authorization Forms from retirement
           accounts.

       •   Yip Associates had numerous discussions with Equialt personnel to obtain an
           understanding of Equialt’s internal electronic investor files containing debenture details
           and investor contact information.

       •   Yip Associates reviewed several sources of information in preparation of a
           comprehensive investor database with detailed information including the date, amount
           of funds raised from each investor and the corresponding sales agent for each
           transaction.

       •   Yip Associates prepared cash flow models through the end of 2020.

       •   Yip Associates performed analyses of income tax returns for the EquiAlt entities for
           years 2011 through 2018.

                   Analyzed properties held by each fund and the movement of such properties
                    within the funds over the life of the funds.

                   Compiled a list of asset sales for each entity during each year as reported.

       •   Yip Associates reviewed and analyzed documents to determine the basis for the
           calculation of fees charged by Equialt LLC to the funds, including management fees,
           construction management fees, asset management fees, acquisition fees, disposition
           fees, property management fees, resort management fees, and project management fees.

            Maria Yip, who founded the firm in 2008, has 27 years of experience in public and

     forensic accounting. The firm is a leading boutique forensic accounting firm serving clients

     throughout the United States and abroad. In addition to provide forensic accounting and

     financial investigation services, Ms. Yip is a sitting United States Bankruptcy Trustee in the

     Southern District of Florida and serves as a court-appointed receiver, examiner, liquidating

     trustee, custodian and assignee for the benefit of creditors.




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            Ms. Yip is a partner in her firm and bills at $495/hour. Additional professionals that

     have expended significant time on this case are Christopher Cropley, a manager with Yip

     Associates with twelve years of experience, and Danny Zamorano, a senior associate, with

     five years of experience. Mr. Cropley’s rate is $300/hour and Mr. Zamorano’s rate is $245.

     Similar rates for Yip Associates’ professionals have been approved by other courts in the

     Middle District. See Exhibit 8. Yip Associates’ invoices, with a summary of hours by

     professional with their hourly rates is attached as Exhibit 9. In addition to their fees, Yip

     Associates is seeking reimbursement for locksmith charges of $1,076 related to the seizure

     of Mr. Davison’s condominium in New York.

          Professional                   Position            Hours      Rate        Total
          Maria Yip (MMY)                Partner              79.9     $495.00    $39,550.50
          Christopher M. Cropley
          (CMC)                          Manager              210.1    $300.00    $63,030.00
          Brandon I. Victor (BOV)     Sr. Associate             14     $245.00     $3,430.00
          Nicole E. Duenas (NED)      Sr. Associate             4.3     245.00     $1,053.50
          Danny D. Zamorano (DDZ)     Sr. Associate           269.3     245.00    $65,978.50
          Matthew J. Bellacosa (MJB)    Associate              52.7    $195.00    $10,276.50
          Crystal Fieros (CF)           Associate              68.9     195.00    $13,435.50
          Santiago I. Carpio (SIC)      Associate              11.7    $195.00     $2,281.50
          William P. Martin (WPM)       Associate             161.1    $195.00    $31,414.50
          Christian Varela (CV)      Paraprofessional           53      125.00     $6,625.00
          Expenses                                                                 $1,076.00
          Total                                                                  $238,157.50


            As mentioned previously, much of the costs associated with forensic accounting in

     these type of cases is front-loaded as accounts, statement, transactions, and investor

     documents are being input, digested and analyzed. Many of these early expenses will not be

     duplicated but will be incredibly beneficial to the Receivership later as a claims process will

     be implemented and the potential filing of clawback actions analyzed. The Receiver is



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     seeking approval for the payment of Yip Associates’ invoice in the total amount of

     $238,151.50.

        E. PDR CPAs

            The Receivership Order permitted the Receiver to engage accountants to assist in

     carrying out the Receiver’s duties. The Receiver hired PDR CPAs (“PDR”) with whom Mr.

     Wiand has worked on several other receiverships. Out of an abundance of caution, the

     Receiver ultimately filed an unopposed motion with Court to approve of the retention of PDR

     and that motion was granted. [Doc. 85] Specifically, the Court noted that PDR’s role “shall

     be limited to internal Receivership accounting, financial reporting, tax preparation and filing,

     and internal accounting for EquiAlt.” Id. The Order also required the Receiver to advise the

     Court of a maximum number of hours anticipated to be incurred by the PDR. This

     information was filed with the Court. The invoices submitted by PDR, attached as Exhibit

     10, comport with the Receiver’s previous filing in response to the Court’s order. [Doc.87]

                Professional                Position      Hours     Rate        Total
                William E. Price (WEP)      Partner        27.5    $320.00     $8,800.00
                Gail Heinold (GAH)           Senior       12.25    $155.00     $1,898.75
                Sharon O'Brien (SAO)          Staff        22.2    $125.00     $2,775.00
                Fees                                                          $13,473.75
                Disbursements                                                    $370.39
                Total                                                         $13,844.14


            The Receiver is seeking approval for the payment of PDR’s invoices in the total

     amount of $13,844.14.




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        F. RWJ Group, LLC

            RWJ Group, LLC was specifically noted in the Court’s February Order appointing

     the Receiver. Robert Jernigan, the founder of RWJ Group, acts as an investigator and asset

     manager for the Receiver. Jernigan is a former law enforcement office over 30 years

     experience in law enforcement, investigations and business management. He has over 11

     years experience working with Receivers, specifically for investigative work and marshalling

     and management of assets. Mr. Jernigan has also been instrumental in overseeing employees

     at EquiAlt and helping to manage its day to day operations which has been particularly

     challenging given the recent pandemic. Although the number of hours is high, Roger

     Jernigan has been the main onsite supervisor in the EquiAlt office at a rate much less than

     had the Receiver hired a full-time property manager.

            John Jernigan and Pamela Jernigan, also of RWJ Group, provided services in this

     case with surveillance, real property identification and assessment, inventory of assets and

     seizure of the EquiAlt Tampa office. The hourly rate charged for these professionals is $90.

     The biographies for these individuals are attached as Exhibit 11. A summary of their billed

     hours is set forth below. RWJ Group’s invoices are attached at Exhibit 12.

                     Professional                  Hours     Rate       Total
                     Roger Jernigan (RWJ)          362.8    $90.00    $32,652.00
                     Pamela Jernigan (PKJ)          58.5    $90.00     $5,265.00
                     John Jernigan (JHJ)            75.5    $90.00     $6,795.00
                     Fees                          496.8              $44,712.00
                     Disbursements (Mileage)                           $2,627.04
                     Total                                            $47,339.04




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            Based on the activities completed for the time period encompassed by the Motion for

     Fees, the Receiver believes RWJ’s fees are reasonable and requests Court approval for the

     payment of RWJ Group’s invoices in the total amount of $47,339.04.

        G. E-Hounds

            E-Hounds was also specifically designated in the Receivership Order. Adam Sharp,

     and technicians Robert Rohr and Sean Organ were present during the takedown of the Tampa

     EquiAlt office. They were instrumental in collecting and preserving all electronic records,

     including email records, GoDaddy records, and DropBox files as well as computer

     equipment at that time. All of these records have been preserved and retained on E-Hounds

     proprietary review platform. Additionally, E-Hounds has helped the Receiver in securing

     websites owned by the Receivership Entities. Although the Receiver’s team is actively using

     the E-Hounds platform, much of the “heavy lifting” as it relates to information technology

     will have occurred with this initial fee application.

                Professional                Position         Hours    Rate       Total
                Adam Sharp (ADS)          Owner              22.25   $300.00    $6,675.00
                Robert Rohr (RTR)         Technician         33.63   $195.00    $6,556.88
                Robert Rohr (RTR)         Preservation       40.50   $225.00    $9,112.50
                Sean Organ (SPO)          Technician         30.25   $195.00    $5,898.75
                Sean Organ (SPO)          Preservation        5.00   $225.00    $1,125.00
                                          Project
                Dave Bukas (DAB)          Mgmt               8.75    $195.00    $1,706.25
                Flat Fee                                                        $1,000.00
                Monthly Platform
                Charges                                                         $1,980.00
                Total                                                          $34,054.38




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              The Receiver is seeking approval for the payment of E-Hounds’ invoices, attached as

     Exhibit 13, in the total amount of $34,054.38. 2

           H. Digital Acuity

              Digital Acuity is a Phoenix-based information technology firm which aided the

     Receiver with the imaging of the hard drives and other computer equipment at the EquiAlt

     offices in Arizona. This is a one-time expense for the Receivership.

                  Service Provided           Hours       Rate     Total
                  Engineering Hours           9.2       $200.00 $1,840.00
                  Consulting Hours           11.11      $325.00 $3,610.75
                  Flat Fee - Image Hard
                  Drive                        8        $695.00 $5,560.00
                  Subtotal                                                   $11,010.75
                  Disbursements            Quantity  Cost     Total
                  Hard Drives < 2TB           6     $225.00 $1,350.00
                  Hard Drives > 2TB           2     $325.00   $650.00
                  Shipping of Drives                          $149.35
                  Subtotal                                                    $2,149.35
                  Total                                                      $13,160.10


              The Receiver is seeking approval for the payment of Digital Acuity’s invoice,

     attached as Exhibit 14, in the total amount of $13,160.10.

     IV.      The SEC Has No Objection to the Receiver’s Motion for Fees

              Prior to filing the Motion for Fees, the Receiver submitted his motion to the SEC for

     review and comment. As stated in the Receiver’s 3.01(g) certification and affirmed by SEC

     attorney Alise Henry’s at this Court’s hearing on June 16th, the SEC did not have any

              2
              In the original Motion for Fees, E-Hounds’ invoices totaled $36,034.38. However,
     in preparing this Supplement, an error was found on the calculation of the total on E-Hounds’
     March invoice, resulting in a decrease of that invoice by $1,980.




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     objection to the Receiver’s motion. “[I]n a securities receivership, ‘[o]pposition or

     acquiescence by the SEC to the fee application will be given great weight.’” S.E.C. v. Byers,

     590 F. Supp. 2d 637 (S.D.N.Y. 2008) (quoting S.E.C. v. Fifth Ave. Coach Lines, Inc., 364

     F.Supp. 1220, 1222 (S.D.N.Y.1973)). Further to this point, the Court’s Receivership Order

     provides that “Quarterly Fee Applications may be subject to a holdback in the amount of

     20% of the amount of fees and expenses for each application filed with the Court.” Doc. 11

     at ¶35. However, the fact that the SEC did not request the holdback should be given some

     weight by this Court. The holdback proposition, urged by Defendant Davison’s counsel,

     makes more sense in the context where the fees requested are disproportionate to the size of

     the Receivership Estate. The Receiver estimates that the value of assets controlled by the

     Receivership Estate, including real estate, vehicles, jewelry, and bank and investment

     accounts exceed $80 million. At the present time, rental operations of the Receivership Estate

     are sufficient to offset the expenses of EquiAlt’s business operations

            Finally, as noted during the hearing on June 16th, the Receiver does not believe there

     is a reason for the holdback. Should the Court make that decision, however, the Receiver, in

     light of the pandemic, requests that the Court not apply the holdback to the requests for

     reimbursement of expenses advanced by all professionals and not apply the holdback to the

     fees sought for the third-party vendors.




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        V. Conclusion

            Based on the foregoing and his previously filed Motion for Fees, the Receiver

     respectfully requests that this Court award the following sums and direct that payment be

     made from the Receivership assets:

                     Burton W. Wiand, Receiver             $79,560.00
                     Wiand Guerra King PA                 $165,676.90
                     Freeborn & Peters LLP                 $16,389.00
                     Baskin Richards PLC                   $13,951.13
                     Yip Associates                       $238,151.50
                     PDR CPAs                              $13,844.14
                     RWJ Group, LLC                        $47,339.04
                     E-Hounds, Inc.                        $34,054.38
                     Digital Acuity LLC                    $13,160.10




                                               Respectfully submitted,

                                               s/Katherine C. Donlon
                                               Katherine C. Donlon, FBN 0066941
                                               kdonlon@wiandlaw.com
                                               Jared J. Perez, FBN 0085192
                                               jperez@wiandlaw.com
                                               R. Max McKinley, FBN 0119556
                                               mmckinley@wiandlaw.com
                                               WIAND GUERRA KING P.A.
                                               5505 West Gray Street
                                               Tampa, FL 33609
                                               Tel.: (813) 347-5100
                                               Fax: (813) 347-5198

                                               Attorneys for the Receiver Burton W. Wiand




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                                 CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on June 26, 2020, I electronically filed a true and correct

     copy of the foregoing with the Clerk of the Court through the CM/ECF system, which served

     counsel of record.


                                                      s/Katherine C. Donlon




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